 Case 1:17-cr-00101-LEK Document 953 Filed 03/11/20 Page 1 of 1                 PageID #: 8134



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                           IN THE UNITED STATES DISTRICT COURT                     5.


                                  FOR THE DISTRICT OF HAWAII
                                                                                   ^^fi/
         UNITED STATES OF AMERICA,                        1:17-CR-00101-LEK-1


                      Plaintiff(s),

               vs.                                       RECEIPT FOR EXHIBITS


         Anthony T. Williams,

                      Defendant(s).


               I, Lars Isaacson, Stand by Counsel for Defendant, Anthony T. Williams, the

         designated Court custodian ofthe trial exhibits, acknowledge receipt of said

         exhibits and assume full responsibility for the preservation and maintenance of

         said exhibits until the final disposition of this case.

               DATED:        Honolulu, Hawaii,




                                                  Stand by Counsel for:
                                                  Defendant Anthony T. Williams
